    Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG               §
       “DEEPWATER HORIZON” in the             §               MDL No. 2179
       GULF OF MEXICO on
       APRIL 20, 2010                         §
                                              §                SECTION: J
                 This document relates to:    §
                                              §           Judge Carl J. Barbier
                    2:10-cv-03168             §      Magistrate Judge Sally Shushan
                                              §
                                              §



          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT M-I L.L.C.’s
          MOTION TO DISMISS PLAINTIFFS’ SIXTH AMENDED COMPLAINT


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June 7, 2011

DB1/67361955.5
    Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 2 of 7




                                          INTRODUCTION

         On April 20, 2010, an explosion and fire occurred on Transocean’s Deepwater Horizon

drilling rig that allegedly injured Plaintiffs Douglas Harold Brown, Christopher Choy, Brent

Mansfield, and Dominique Ussin (“Plaintiffs”). Plaintiffs allege that M-I L.L.C. (“M-I”), a

contractor on the rig providing drilling fluids to BP, is liable for their injuries. While Plaintiffs

may have adequately pleaded some theories of liability, they plead no facts supporting recovery

under others, and have alleged facts precluding recovery of non-pecuniary damages from M-I.

Certain of Plaintiffs’ claims against M-I should therefore be dismissed under Federal Rule of

Civil Procedure 12(b)(6).

                                        STATEMENT OF FACTS

         Plaintiffs Brown, Choy, and Mansfield were employed by Transocean Deepwater, Inc.

(“Transocean”). Compl. ¶ 22. Plaintiff Ussin was an employee of Art Catering. Id. ¶ 23.

Plaintiffs were working on Transocean’s drilling rig, the Deepwater Horizon, on April 20, 2010,

when an explosion and fire occurred aboard the rig. Id. ¶¶ 22-23, 34, 36. Plaintiffs allege they

suffered physical and emotional injuries as a result of the accident and bring suit against M-I and

others. Id. ¶¶ 149-53. Plaintiffs allege under various theories that M-I was negligent with

respect to its activities on the rig.

                                        STANDARD OF REVIEW

         To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim for relief that

is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). In considering a motion to dismiss, the Court must

accept factual allegations as true, but it is “‘not bound to accept as true a legal conclusion

couched as a factual allegation.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting
DB1/67361955.5                                   1
     Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 3 of 7




Papasan v. Allain, 478 U.S. 265, 286 (1986)). Where a complaint pleads facts that suggest the

“mere possibility of misconduct,” it must be dismissed. Iqbal, 129 S. Ct. at 1950. In addition,

where a successful defense appears on the face of the pleadings, the plaintiff has failed to

demonstrate a plausible claim, and the claim must be dismissed. See Hall v. Hodgkins, 305 F.

App’x 224, 227-28 (5th Cir. 2008).

                                             ANALYSIS

         Plaintiffs fail to plead facts sufficient to maintain a negligence cause of action against M-

I under any res ipsa loquitur theory. And Plaintiffs’ own allegations establish that they are

precluded, as a matter of law, from recovering any non-pecuniary damages from M-I.

I.       The Doctrine Res Ipsa Loquitur Cannot Be Applied In This Case.

         Plaintiffs assert that the doctrine of res ipsa loquitur applies in this case. Compl. ¶ 123.

But Plaintiffs’ own allegations preclude the application of this doctrine.

         Res ipsa loquitur is an evidentiary principle that permits an inference of negligence in

certain narrow circumstances where the injury complained of is a type “which does not

ordinarily occur in the absence of negligence” and where “the cause of the harm is obvious.”

Brown v. Olin Chem. Corp., 231 F.3d 197, 201 (5th Cir. 2000) (internal quotation omitted). The

doctrine can only be applied where the instrumentality alleged to have caused the plaintiff’s

injury was under “the exclusive control of the defendant.” Michaels v. Avitech, Inc., 202 F.3d

746, 753 (5th Cir. 2000); see also United States v. Nassau Marine Corp., 778 F.2d 1111, 1115-

16 (5th Cir. 1985). And the doctrine applies only “where the likelihood of causes other than the

defendant” is ruled out. Michaels, 202 F.3d at 754 (internal citation and quotation omitted).

         Here, the cause of the explosion that allegedly injured Plaintiffs is far from “obvious,” as

evidenced by the litany of purported causes of the accident in Plaintiffs’ latest Complaint. See

Compl. ¶¶ 40-42 (poor well design caused the accident); id. ¶ 43 (method of drilling mud
DB1/67361955.5                                    2
      Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 4 of 7




circulation); id. ¶¶ 44-45 (faulty cement); id. ¶ 46 (cancellation of crucial cement bond log test);

id. ¶ 47 (decision not to deploy casing hanger lockdown sleeve); id. ¶ 49 (decision to perform

simultaneous operations); id. ¶ 50 (ignoring pressure data); id. ¶ 51 (lack of proper crew

training); id. ¶¶ 53-56 (faulty gas sensors, air intake valves, and emergency disconnect system);

id. ¶¶ 59-73 (faulty blowout-preventer); id. ¶¶ 74-86 (lack of maintenance and faulty equipment

aboard Deepwater Horizon). Plaintiffs’ allegations—especially their blanket allegations against

all “Defendants”—further establish that the conduct of a party other than M-I cannot be

eliminated as a more probable cause of their injuries. Toney v. United States, 273 F. App’x 384,

386 (5th Cir. 2008).

         Most damaging to Plaintiffs’ claims, however, are their allegations that the “Transocean

Entities were the owners, managing owners, owners pro hoc vice, charters, supervisors and/or

operators of the oil rig DEEPWATER HORIZON.” Compl. ¶ 28. M-I is nowhere alleged to have

any control over the rig, much less exclusive control. Accordingly, the Court should hold res

ispa loquitur inapplicable to Plaintiffs’ claims against M-I in this case.

II.      As Jones Act Seamen, Plaintiffs Are Precluded From Recovering Non-Pecuniary
         Damages Under Any General Maritime Law Claims.

         Plaintiffs assert that they were employed by Transocean and Art Catering and that they

were working on a vessel in the navigable waters in the Gulf of Mexico when they suffered their

alleged injuries. Compl. ¶¶ 22-23, 34, 36. Plaintiffs specifically assert their status as Jones Act

seamen. Id. ¶¶ 22-23. Thus, there is no dispute that they qualify as Jones Act seamen. See

Chandris, Inc. v. Latsis, 515 U.S. 347, 353 (1995) (“The test of seaman status under the Jones

Act is an employment-related connection to a vessel in navigation.”) (alteration, citation, and

internal quotation omitted).



DB1/67361955.5                                    3
    Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 5 of 7




         Binding Fifth Circuit law precludes Plaintiffs’ recovery of punitive damages from M-I.

See Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990); Scarborough v. Clemco Indus., 391

F.3d 660, 667 n.4 (5th Cir. 2004). Relying on well-settled Supreme Court precedent, the Fifth

Circuit has held that “neither one who has invoked his Jones Act seaman status nor his survivors

may recover non-pecuniary damages from non-employer third parties.” Scarborough, 391 F.3d

at 668; see also Miles, 498 U.S. at 32; Wilson v. Noble Drilling Corp., Civil Action No. 08-4940,

2009 U.S. Dist. LEXIS 124302, at *6 (E.D. La. Aug. 12, 2009) (“[C]ases decided by the

Supreme Court, the Fifth Circuit and the judges of this court have repeatedly held that non-

pecuniary damages, including punitive damages, are not an available remedy for a Jones Act

seaman . . . .”) (emphasis in original).   Scarborough forecloses Plaintiffs’ attempt to seek

punitive damages from M-I; therefore, Plaintiffs’ claims against M-I for punitive damages

should be dismissed.

                                        CONCLUSION

         For the foregoing reasons, M-I respectfully requests that this Court dismiss the claims

asserted against it to the extent discussed above under Federal Rule of Civil Procedure 12(b)(6).




DB1/67361955.5                                  4
    Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 6 of 7




June 7, 2011                              Respectfully Submitted,


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DB1/67361955.5                        5
    Case 2:10-md-02179-CJB-DPC Document 2676-1 Filed 06/07/11 Page 7 of 7




                               CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing Memorandum of Law In Support Of M-I’s

Motion To Dismiss Plaintiffs’ Sixth Amended Complaint has been served on all Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the Court’s CM/ECF System,

which will send a notice of electronic filing in accordance with the procedures established in

MDL No. 2179, on this 7th day of June, 2011.


                                            /s/ Hugh E. Tanner
                                           Hugh E. Tanner




DB1/67361955.5
